Case 3:21-cv-00022-CAR Document 1-2 Filed 03/10/21 Page 1 of 2




                Exhibit 2
              Case 3:21-cv-00022-CAR Document 1-2 Filed 03/10/21 Page 2 of 2

Design Mart EULA

End User License Agreement for Design Mart, LLC's Online Monument Designer & Catalog.

This End-User License Agreement (EULA) is a legal agreement between a corporate user and Design
Mart, LLC, for use of Design Mart's Monument Designer & Catalog software – including derivative
works such as brochures, books, software, etc.

By purchasing a subscription/membership and choosing to accept the terms of this License
Agreement, the user/subscriber/member agrees to the terms of this EULA agreement.

License: Design Mart's Monument Designer & Catalog is registered through the Library of Congress,
and is protected by Federal copyright laws. Design Mart's Monument Designer & Catalog is licensed
to the user and is accessed via a subscription/membership. No transfer of ownership occurs with a
subscription. Design Mart's Monument Designer & Catalog, as well as all components and derivative
works, remain property of Design Mart LLC.

This EULA grants the user/subscriber/member the rights to:

   Subscribe/join to and to use Design Mart's Monument Designer & Catalog.
   Access Design Mart's Monument Designer as long as a subscription/membership is active.
   Access Design Mart's Catalog as long as a subscription/membership is active.
   Print, email, mail, or fax monument concepts created with Design Mart's Monument Designer &
Catalog for the purpose of giving or presenting them to families who are making a decision on a
monument or to a manufacturer who will be processing the monument. Monuments and components
included in Design Mart's Online Monument Designer & Catalog may not be redistributed, printed in
brochures or featured on web sites or provided to others via any other printed or electronic media.

A subscriber/member may allow access to others under the same terms as the subscriber/member.

Users/subscribers/members have no title to the copyrighted intellectual property Design Mart's Online
Catalog & Monument Designer. All ownership remains with Design Mart, LLC.

Design Mart's Monument Designer & Catalog is available only through D esign Mart, LLC, and may
not be resold or repackaged for release or distribution as a whole or in parts.

Users/subscribers/members may not reverse engineer, copy, decompile, or disassemble Design
Mart's Monument Designer & Catalogs. All components and artwork, whether considered in parts or
as a whole remain licensed products from Design Mart, LLC.

Design Mart, LLC oﬀers no warranty for the Monument Designer & Catalog.
Subscribers/members/users utilize the product/service “as is.” Lost data, downtime, or any other
technical diﬃculties or events may occur. DesignMart, LLC regrets any such inconveniences, but may
not, in any event, be held responsible for compensating any user/member/subscriber for such issues,
damages, loss in business proﬁts, business interruption, loss of business information, etc.) should
they arise.

This license is in eﬀect until terminated by the user/subscriber/member or Design Mart, LLC. Design
Mart, LLC. may terminate this license agreement if the user/subscriber/member fails to comply with
the terms and conditions of this license. The user may terminate this license at any time by contacting
Design Mart, LLC. Upon notice of cancellation user/subscriber/member access to the Monument
Designer & Catalog will be terminated. Termination will occur at the end of the prepaid
subscription/membership period.

Potential users/members/subscribers must agree to this EULA before Design Mart LLC's Monument
Designer & Catalog can be activated.
